                                          Case 16-12114-RAM                      Doc 2         Filed 02/16/16                Page 1 of 2


 Fill in this information to identify the case:
 Debtor name Kendall Lake Towers Condominium Association, Inc.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF                                                                                         Check if this is an
                                                FLORIDA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Alan S Becker, Esq.                                            attorney's fees for Disputed                                                                            $267,919.00
 Receiver                                                       receiver            Subject to
 and Becker &                                                                       Setoff
 Poliakoff P.A.
 121 Alhambra Plaza
 10th floor
 Miami, FL 33134
 Cuevas &                                                       settlement        Disputed                                                                                $50,000.00
 Associates P.A.                                                agreement by
 7480 SW 40 St                                                  receiver
 Miami, FL 33155                                                a mount is
                                                                estimated
                                                                $2,162.55 monthly
                                                                payments
                                                                pursuant to
                                                                settlement
                                                                agreement
 Munios & Morales                                               estimated         Unliquidated                                                                            $20,000.00
 P.A.                                                           attorneys' fees
 300 Seville Ave
 Suite 309
 Miami, FL 33134
 Miami Dade County                                              RER debt                Unliquidated                                                                       $2,510.00
 FL                                                                                     Disputed
 Regulatory and
 Economic Resouces
 (RER)
 Credit and
 Collection
 200 NW 2d Ave 3d
 Floor
 Miami, FL 33128
 CMG Condo Fund                                                 two lawsuits            Unliquidated                                                                             $0.00
 LLC                                                                                    Disputed
 4141 NE 2 Ave
 #204-A
 Miami, FL 33137


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                                          Case 16-12114-RAM                      Doc 2         Filed 02/16/16                Page 2 of 2


 Debtor    Kendall Lake Towers Condominium Association, Inc.                                                  Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Corporate Alliance                                             lawsuit                 Unliquidated                                                                             $0.00
 Group LLC                                                                              Disputed
 10820 SW 200 Dr
 Miami, FL 33157
 Danay Bazain                                                   lawsuit                 Unliquidated                                                                             $0.00
 c/o Patrick Gonyea                                                                     Disputed
 4257 NW 76 Ave
 Hollywood, FL
 33024
 Melanie C.Salas                                                lawsuit                 Unliquidated                                                                             $0.00
 c/o Patrick Gonyea,                                                                    Disputed
 Esq.
 4257 NW 76 Ave
 Hollywood, FL
 33024
 Miami Dade County                                              violations              Unliquidated                                                                             $0.00
 FL                                                                                     Disputed
 Code Enforcememnt
 Department
 111 NW 1 St Suite
 1750
 Miami, FL 33128




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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